           Case 4:16-cr-00245-BSM Document 65 Filed 10/20/20 Page 1 of 3




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                             CENTRAL DIVISION

UNITED STATES OF AMERICA                                                         PLAINTIFF

v.                           CASE NO. 4:16-CR-00245-BSM

DAMION LYDALE BRIDGEFORTH                                                      DEFENDANT

                                           ORDER

       Damion Bridgeforth’s motion to vacate his sentence [Doc. No. 60] is denied.

Bridgeforth’s motions to appoint counsel [Doc. No. 62], for discovery [Doc. No. 63], and for

an evidentiary hearing [Doc. No. 64] are denied as moot.

                                     I. BACKGROUND

       A jury found Bridgeforth guilty of being a felon in possession of a firearm on April

9, 2018. Doc. No. 29. He was sentenced to 108 months of imprisonment and three years of

supervised release. Doc. No. 40. The Eighth Circuit affirmed his conviction on June 3,

2019. Doc. No. 55. Bridgeforth moves to vacate his conviction under 28 U.S.C. section

2255, based on Rehaif v. United States, 139 S.Ct. 2191 (2019), and ineffective assistance of

counsel.

                                  II. LEGAL STANDARD

       A prisoner in custody for a federal sentence may petition the sentencing court to

vacate his sentence if: (1) the sentence was imposed in violation of the Constitution or laws

of the United States; (2) the court lacked jurisdiction to impose the sentence; (3) the sentence

exceeded the maximum authorized by law; or (4) the sentence is otherwise subject to
         Case 4:16-cr-00245-BSM Document 65 Filed 10/20/20 Page 2 of 3




collateral attack. 28 U.S.C. § 2255(a). Relief is reserved for “a narrow range of injuries

[which] if uncorrected, would result in a complete miscarriage of justice.” United States v.

Apfel, 97 F.3d 1074, 1076 (8th Cir. 1996). To succeed on an ineffective assistance of

counsel claim, a petitioner must show that his lawyer’s deficient representation prejudiced

his case. See DeRoo v. United States, 223 F.3d 919, 925 (8th Cir. 2000) (referencing

Strickland v. Washington, 466 U.S. 668 (1984)). There is a one-year statute of limitations

for section 2255 motions. 28 U.S.C. § 2255(f).

                                       III. DISCUSSION

       A.     Rehaif Retroactivity

       Rehaif held that the government must prove that “the defendant knew he possessed

a firearm and that he knew he belonged to the relevant categories of persons barred from

possessing a firearm.” Rehaif, 139 S.Ct. at 2200. Bridgeforth argues that because the

government did not prove that he knew he possessed a firearm or that he knew his felony

status, his conviction is invalid. Br. Mot. Vacate ¶ 1. Bridgeforth’s motion is denied because

the ruling in Rehaif may not be applied retroactivly. See, e.g., United States v. Kennedy,

2020 WL 4115088, *1 (E.D. Ark. July 20, 2020).

       B.     Statute of Limitations

       Even if Rehaif could be applied retroactively, Bridgeforth’s motion is untimely, as the

statute of limitations for section 2255 relief expired on June 22, 2020, and Bridgeforth’s

motion was received on September 1, 2020. See 28 U.S.C. § 2255(f)(3). Bridgeforth’s


                                              2
         Case 4:16-cr-00245-BSM Document 65 Filed 10/20/20 Page 3 of 3



ineffective assistance of counsel claim is also time-barred, as the Eighth Circuit affirmed his

conviction on June 3, 2019. Doc. No. 55. See 28 U.S.C. § 2255(f)(1).

                                     IV. CONCLUSION

       For the foregoing reasons, Bridgeforth’s motion to vacate his sentence [Doc. No. 60]

is denied. Bridgeforth’s motions to appoint counsel [Doc. No. 62], for discovery [Doc. No.

63], and for an evidentiary hearing [Doc. No. 64] are denied as moot.

       IT IS SO ORDERED this 20th day of October, 2020.


                                                     UNITED STATES DISTRICT JUDGE




                                              3
